Office of Harris County District Clerk - Chris Daniel                       Page 1 of 2
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 HCDistrictclerk.com              UNRUH, DIANA vs. ALLSTATE TEXAS LLOYD'S                               12/6/2016
                                  Cause: 201674527   CDI: 7  Court: 011

 APPEALS
 No Appeals found.

 COST STATMENTS
 No Cost Statments found.

 TRANSFERS
 No Transfers found.

 POST TRIAL WRITS
 No Post Trial Writs found.

 ABSTRACTS
 No Abstracts found.

 SETTINGS
 No Settings found.

 NOTICES
 No Notices found.

 SUMMARY
 CASE DETAILS                                                 COURT DETAILS
 File Date                10/26/2016                          Court        011th
 Case (Cause) Location    Civil Intake 1st Floor              Address      201 CAROLINE (Floor: 9)
                                                                           HOUSTON, TX 77002
 Case (Cause) Status      Active - Civil
                                                                           Phone:7133686020
 Case (Cause) Type        Debt/Contract - Consumer/DTPA
                                                              JudgeName    MICHAEL D. MILLER
 Next/Last Setting Date   N/A
                                                              Court Type   Civil
 Jury Fee Paid Date       12/5/2016



 ACTIVE PARTIES
 Name                                              Type                                      Post Attorney
                                                                                             Jdgm
 UNRUH, DIANA                                      PLAINTIFF - CIVIL                                 CORONA,
                                                                                                     JESSE S.
      521 N SAM HOUSTON PKWY E, HOUSTON, TX 77060

 ALLSTATE TEXAS LLOYD'S                            DEFENDANT - CIVIL                                 SIMON, JAY S.
 ALLSTATE TEXAS LLOYD'S BY SERVING ITS             REGISTERED AGENT
 REGISTERED AGENT CT
      1999 BRYAN STREET SUITE 900, DALLAS, TX 75201-3136



 INACTIVE PARTIES
 No inactive parties found.


                                                   EXHIBIT B
http://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=Vf8hub562oD... 12/6/2016
Office of Harris County District Clerk - Chris Daniel                       Page 2 of 2
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 JUDGMENT/EVENTS
 Date  Description                                        Order     Post Pgs Volume Filing                         Person
                                                          Signed    Jdgm     /Page Attorney                        Filing
 12/2/2016        JURY FEE PAID (TRCP 216)                                  0
 12/2/2016        ANSWER                                                    0                 SIMON, JAY S.        ALLSTATE TEXAS
                                                                                                                   LLOYD'S
 12/2/2016        JURY FEE PAID (TRCP 216)                                  0
 10/26/2016       JURY FEE PAID (TRCP 216)                                  0
 10/26/2016       ORIGINAL PETITION                                         0                 CORONA, JESSE S.     UNRUH, DIANA



 SERVICES
 Type Status                         Instrument Person           Requested Issued Served Returned Received Tracking Deliver
                                                                                                                    To
 CITATION SERVICE         ORIGINAL                    ALLSTATE 10/26/2016       10/27/2016 11/10/2016                     73304231        CIV
          RETURN/EXECUTED PETITION                    TEXAS                                                                               AGCY-
                                                      LLOYD'S BY                                                                          CIVILIAN
                                                      SERVING ITS                                                                         SERVICE
                                                      REGISTERED                                                                          AGENCY
                                                      AGENT CT
         1999 BRYAN STREET SUITE 900 DALLAS TX 75201



 DOCUMENTS
 Number               Document                                                                                Post Date              Pgs
                                                                                                              Jdgm
 72955052             Defendant's Original Answer                                                                  12/02/2016        2
 72833842             Citation                                                                                     11/22/2016        2
 72552688             Civil Process Pick-Up Form                                                                   10/27/2016        1
 72487365             Plaintiff's Original Petition                                                                10/26/2016        43
  ·>   72487366       Civil Case Information Sheet                                                                 10/26/2016        1




http://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=Vf8hub562oD... 12/6/2016
      Case 4:16-cv-03600 Document 1-2 Filed in TXSD on 12/08/16 Page 3 of 2010/26/2016 5:47:55 PM
                                                                                Chris Daniel - District Clerk Harris County
                                                                                                  Envelope No. 13465267

                                2016-74527 / Court: 011                                                   By: Nelson Cuero
                                                                                           Filed: 10/26/2016 5:47:55 PM

                                 CAUSE NO.


DIANA UNRUH,                                                 IN THE DISTRICT COURT

        Plaintiff,

vs.                                                          HARRIS COUNTY, TEXAS

ALLSTATE TEXAS LLOYD'S,

        Defendant.                                                  JUDICIAL DISTRICT


                                PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, DIANA UNRUH ("Plaintiff'), and complains of ALLSTATE TEXAS

LLOYD'S ("ALLSTATE" and/or "Defendant"). In support of such claims and causes of action,

Plaintiff respectfully shows unto this Honorable Court and Jury as follows:

                                 I. DISCOVERY CONTROL PLAN

        1.1     Discovery in this case should be conducted in accordance with a Level 3 tailored

discovery control plan pursuant to Texas Rule of Civil Procedure 190.4. Plaintiff affirmatively

pleads this suit is not governed by the expedited-actions process in Texas Rule of Civil Procedure

169, as Plaintiff seeks monetary relief over $100,000.

                                          II. PARTIES

        2.1     Plaintiff, DIANA UNRUH, is a resident of Harris County, Texas.

        2.2     Defendant, ALLSTATE TEXAS LLOYD'S, is a domestic company engaged in the

business of insurance in this state. It may be served with process by serving its registered agent,

CT Corporation System, by certified mail, return receipt requested, at 1999 Bryan Street, Suite




PLAINTIFF'S ORIGINAL PETITION                                                                  PAGE -1-
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900, Dallas, Texas 75201-3136, or wherever it may be found. Plaintiff requests citation be issued

and E-served to Plaintiff attorney's office at this time.

                                III. JURISDICTION AND VENUE

        3.1     This Court has jurisdiction over this case in that the amount in controversy exceeds

the minimum jurisdictional limits of this Court.

        3.2     Venue is proper in Harris County, Texas, because all or a substantial part of the

events giving rise to the lawsuit occurred in this county, and the insured property that is the basis

of this lawsuit is located in Harris County, Texas.

                        IV. AGENCY AND RESPONDEAT SUPERIOR

        4.1     Whenever in this petition it is alleged that Defendant did any act or thing, it is meant

that Defendant or its agents, officers, servants, employees, or representatives did such a thing. It

was also done with the full authorization or ratification of Defendant or done in the normal routine,

course and scope of the agency or employment of Defendant or its agents, officers, servants,

employees, or representatives.

                                 V. CONDITIONS PRECEDENT

        5.1     All conditions precedent to recovery have been performed, waived, or have

occurred.

                         VI. FACTS APPLICABLE TO ALL COUNTS

        6.1     Plaintiff is the owner of a Texas Homeowner's Policy number 216331080 issued

by ALLSTATE (the "Policy").

        6.2     Plaintiff owns the insured property, which is specifically located at 9034 Lawncliff

Lane, Houston, Texas, 77040 (the "Property").




PLAINTIFF'S ORIGINAL PETITION                                                                  PAGE -2-
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        6.3     ALLSTATE, or its agent(s), sold the Policy, insuring and covering the Property

against damages from storm-related events, to Plaintiff.

        6.4     On or about May 12, 2016, Plaintiff experienced a storm that damaged the Property.

In its track, the storm left behind widespread damage to the Property, Plaintiff's home.

        6.5     The Plaintiff timely submitted a claim to ALLSTATE. ALLSTATE assigned

various adjusters to adjust the claim. However, ALLSTATE and and its agents were not diligent

in investigating Plaintiff's loss. ALLSTATE failed to timely and accurately investigate the

covered loss. ALLSTATE assigned claim number 0413840133 to Plaintiff's claim.

        6.6     Ultimately, ALLSTATE, inspected Plaintiff's property after the storm. During the

inspection, ALLSTATE, was tasked with the responsibility of conducting a thorough and

reasonable investigation of Plaintiff's claim, including determining the cause of, and then

quantifying the damage done to Plaintiff's home.

        6.7     ALLSTATE prepared a repair estimate which did not account for all of the covered

damages. Further, even the damages that were accounted for were vastly under-scoped. Thus,

Defendant ALLSTATE demonstrated it did not conduct a thorough investigation of the claim.

        6.8     Defendant ALLSTATE failed to fairly evaluate and adjust Plaintiff's claim as they

are obligated to do under the Policy and Texas law. By failing to properly investigate the claim

and wrongfully denying full coverage to Plaintiff, ALLSTATE engaged in unfair settlement

practices by misrepresenting material facts to Plaintiff

        6.9     Defendant ALLSTATE failed to perform its contractual duty to adequately

compensate Plaintiff under the terms of the Policy. Specifically, Defendant ALLSTATE failed

and refused to properly pay proceeds for the Policy, although due demand was made for proceeds

to be paid in an amount sufficient to cover the damaged property, and all conditions precedent to



PLAINTIFF'S ORIGINAL PETITION                                                              PAGE -3-
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recovery upon the Policy had been carried out and accomplished by Plaintiff. Defendant

ALLSTATE' s conduct constitutes a material breach of the insurance contract.

        6.10 Defendant ALLSTATE misrepresented to Plaintiff that the damage to the Property

was not covered under the Policy, even though the damage was caused by a covered peril.

Defendant's conduct constitutes a violation of the Unfair Settlement Practices specified in Tex.

Ins. Code § 541.060(a)(1).

        6.11 Defendant ALLSTATE's repair estimate under-scoped the covered damages and

misrepresented the benefits under the Policy, which promised to pay the amount of loss to the

Plaintiff. Defendant's conduct constitutes a violation of the Misrepresentation Regarding Policy

or Insurer section specified in Tex. Ins. Code § 541.051(1)(B).

        6.12 Defendant ALLSTATE failed to make an attempt to settle Plaintiff's claims in a

prompt and fair manner, although they were aware of its liability to Plaintiff was reasonably clear

under the Policy. Defendant's conduct constitutes a violation of the Unfair Settlement Practices

specified in Tex. Ins. Code § 541.060(a)(2)(A).

        6.13 Defendant ALLSTATE failed to explain to Plaintiff why full payment was not

being made. Furthermore, Defendant did not communicate that future payments would be

forthcoming to pay for the entire losses covered under the Policy, nor did Defendant provide any

explanation for the failure to adequately settle Plaintiff's claims, in violation of Tex. Ins. Code §

541.060(a)(3).

        6.14 Defendant ALLSTATE failed to affirm or deny coverage of Plaintiff's claim within

a reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or

rejection, regarding the full and entire claim, in writing from Defendants. Defendant's conduct




PLAINTIFF'S ORIGINAL PETITION                                                                PAGE -4-
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constitutes a violation of the Unfair Settlement Practices specified in Tex. Ins. Code §

541.060(a)(4).

        6.15 Defendant ALLSTATE refused to fully compensate Plaintiff under the terms of the

Policy, even though Defendant failed to conduct a reasonable investigation. Specifically,

Defendant ALLSTATE performed a results/outcome-oriented investigation of Plaintiffs claim,

which resulted in a biased, unfair and inequitable evaluation of Plaintiff's losses to the Property.

Defendant's conduct constitutes a violation of the Unfair Settlement Practices specified in Tex.

Ins. Code § 541.060(a)(7).

        6.16 Defendant ALLSTATE misrepresented the insurance policy sold to Plaintiff by (1)

making an untrue statement of material fact regarding coverage; (2) failing to state a material fact

necessary to make other statements made not misleading, considering the circumstances under

which the statements were made; (3) making a statement in a manner that would mislead a

reasonably prudent person to a false conclusion of a material fact regarding coverage; (4) making

a material misstatement of law; and/or (5) failing to disclose a matter required by law to be

disclosed, including failing to make a disclosure in accordance with another provision of the Texas

Insurance Code, in violation of Section 541.061 of the same.

        6.17 Defendant ALLSTATE failed to meet its obligation under the Texas Insurance

Code regarding timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiff's

claim, and requesting all information reasonably necessary to investigate Plaintiff's claim within

the statutorily mandated deadline. Defendant's conduct constitutes a violation of the Prompt

Payment of Claims subchapter specified in Tex. Ins. Code § 542.055.

        6.18 Defendant ALLSTATE failed to accept or deny the Plaintiff's full and entire claim

within the statutory mandated deadline of receiving all necessary information. Defendant's



PLAINTIFF'S ORIGINAL PETITION                                                               PAGE -5-
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conduct constitutes a violation of the Prompt Payment of Claims subchapter specified in Tex. Ins.

Code § 542.056.

        6.19 Defendant ALLSTATE failed to meet its obligations under the Texas Insurance

Code regarding payment of claims without delay. Specifically, Defendant has delayed full

payment of Plaintiff's claim longer than allowed and, to date, Plaintiff has not yet received full

payment for Plaintiffs claim. Defendant's conduct constitutes a violation of the Prompt Payment

of Claims subchapter specified in Tex. Ins. Code § 542.058.

        6.20 From the point in time Plaintiff's claim was presented to Defendant ALLSTATE,

the liability of Defendant to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, Defendant ALLSTATE has refused to pay Plaintiff in full, despite

there being no basis whatsoever on which a reasonable insurance company would have relied to

deny the full payment. Defendant's conduct constitutes a breach of the common law duty of good

faith and fair dealing.

        6.21 As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to

retain the professional services of the attorney and law firm who are representing Plaintiff with

respect to these causes of action. On or about July 22, 2016 Plaintiffs counsel sent a letter of

representation requesting various documents related to the storm.

        6.22 On or about August 23, 2016, Plaintiffs counsel sent a Texas Deceptive Trade

Practices Act ("DTPA") and Texas Insurance Code Notice and Demand letter. The letter informed

Defendants of potential violations under the DTPA and Insurance Code related to its handling and

adjusting of Plaintiffs claim and potential claims, including attorney's fees, statutory penalty

interest, and additional damages arising from those violations. The Notice and Demand letter

provided Defendants with the statutorily mandated sixty days to respond, and an opportunity to



PLAINTIFF'S ORIGINAL PETITION                                                             PAGE -6-
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resolve the claim without extended litigation costs. Defendant made no other attempt to respond

to the Demand or settle the claim; satisfying the statutory requirement that Defendants either deny

a DTPA and Insurance Code Demand or be allotted a sixty-day time period to attempt to resolve

the claim before a petition is to be filed.

        6.23 To date, Defendant ALLSTATE has failed to and refused to pay Plaintiff for the

proper repair of the property. Plaintiff's experience is not an isolated case. The acts and omissions

of Defendants committed in this case, or similar acts and omissions, occur with such frequency

that they constitute a general business practice of Defendants with regard to handling this type of

claim. Defendants' entire process is unfairly designed to reach favorable outcomes for the

company at the expense of the policyholder.

                                              VII. COUNTS

        7.1     Plaintiff incorporates by reference all facts, statements, and allegations set forth in

all previous paragraphs, as if set forth in full in each cause of action that follows.

        7.2     COUNT 1— BREACH OF CONTRACT

                a.      At the time of the loss, Plaintiff had valid, enforceable insurance contract in

        place, issued by Defendant (the "Policy"). Plaintiff was the insured of the contract.

        Plaintiff fully performed her contractual obligations by making premium payments as

        required by the insurance contract, and at all times complied fully with all material

        provisions of the Policy.

                b.      According to the Policy that Plaintiff purchased, Defendant ALLSTATE

        had the duty to investigate and pay Plaintiff's policy benefits for claims made for covered

        damages, including additional benefits under the Policy, resulting from the damages. As a




PLAINTIFF'S ORIGINAL PETITION                                                                  PAGE -7-
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        result of these damages, which result from covered perils under the Policy, the Plaintiffs

        home has been damaged.

                c.      Defendant ALLSTATE's failure to properly investigate and refusal, as

        described above, to pay the adequate compensation as it is obligated to do under the terms

        of the Policy in question and under the laws of the State of Texas, constitutes a material

        breach of Defendant ALLSTATE's contract with Plaintiff. As a result of this breach of

        contract, Plaintiff has suffered the damages that are described in this Petition, the producing

        cause of which is Defendant's actions.

        7.3     COUNT 2— PROMPT PAYMENT OF CLAIMS; VIOLATION OF TEXAS
                         INSURANCE CODE §542, ET SEQ.

                a.      Under the Texas Insurance Code, Defendant ALLSTATE had a duty to

        investigate and pay Plaintiffs claim under the Policy in a timely manner. Defendant

        ALLSTATE violated Chapter 542 of the Texas Insurance Code by not timely:

        (1) commencing its investigation of the claim; (2) requesting information needed to

        investigate the claim; (3) communicating with its insured regarding the status of its

        investigation, including failing to accept or reject Plaintiffs claim in writing within the

        statutory timeframe; (4) conducting its investigation of the claim; and (5) paying the claim.

                b.      All of the above-described acts, omissions, and failures of Defendant are a

        producing cause of Plaintiffs damages that are described in this petition. Defendant

        ALLSTATE is therefore liable under Chapter 542 for penalty interest at the rate set forth

        in the statute, and attorney's fees taxed as costs of this suit.

                c.      Additionally, if it is determined Defendant ALLSTATE owes Plaintiff any

        additional money on Plaintiffs claim, then Defendant has automatically violated Chapter

        542 in this case.


PLAINTIFF'S ORIGINAL PETITION                                                                 PAGE -8-
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        7.4     COUNT 3— UNFAIR INSURANCE PRACTICES; VIOLATION OF
                         TEXAS INSURANCE CODE § 541, ET SEQ.

                a.       As an insurer, Defendant ALLSTATE owes statutory duties to Plaintiff as

        its insured. Specifically, the Texas Insurance Code prohibits Defendant ALLSTATE from

        engaging in any unfair or deceptive act or practice in the business of insurance.

                b.       By its acts, omissions, failures, and conduct, Defendant ALLSTATE has

        engaged in unfair and deceptive acts or practices in the business of insurance in violation

        of 541 of the Texas Insurance Code. Such violations include, without limitation, all the

        conduct described in this petition, plus Defendant's unreasonable delays and under-scoping

        in the investigation, adjustment, and resolution of the Plaintiff's claim, plus Defendant's

        failure to pay for the proper repair of the Plaintiff's home on which liability had become

        reasonably clear. They further include Defendant's failure to give Plaintiff the benefit of

        the doubt. Specifically, Defendant ALLSTATE are guilty of the following unfair insurance

        practices:

                         i.     Misrepresenting to Plaintiff pertinent facts or policy provisions

                relating to the coverage at issue;

                                Failing to attempt in good faith to effectuate a prompt, fair, and

                equitable settlement of claim submitted in which liability had become reasonably

                clear;

                                Failing to provide promptly to a policyholder a reasonable

                explanation of the basis in the insurance policy in relation to the facts or applicable

                law for the denial of a claim or for the offer of a company's settlement;

                         iv.    Failing to affirm or deny coverage of Plaintiff's claim within a

                reasonable time;


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                        v.      Refusing to pay Plaintiff's claim without conducting a reasonable

                investigation with respect to the claim; and

                        vi.     Misrepresenting the insurance policy sold to Plaintiff by (1) making

                an untrue statement of material fact regarding coverage; (2) failing to state a

                material fact necessary to make other statements made not misleading, considering

                the circumstances under which the statements were made; (3) making a statement

                in a manner that would mislead a reasonably prudent person to a false conclusion

                of a material fact regarding coverage; (4) making a material misstatement of law;

                and/or (5) failing to disclose a matter required by law to be disclosed, including

                failing to make a disclosure in accordance with another provision of the Texas

                Insurance Code.

                c.      Defendant ALLSTATE has also breached the Texas Insurance Code when

        it breached its duty of good faith and fair dealing. Defendant's conduct as described herein

        has resulted in Plaintiff's damages that are described in this petition.

                d.      All of the above-described acts, omissions, and failures of Defendant are a

        producing cause of Plaintiff's damages that are described in this petition, and were done

        knowingly and/or intentionally as that term is used in the Texas Insurance Code.

        7.5     COUNT 4— DTPA; VIOLATIONS OF TEXAS BUSINESS AND
                        COMMERCE CODE § 17.46, ET SEQ.

                a.      Plaintiff is an individual who sought and acquired a good, the Policy that is

        the subject of the suit, by purchase, from the Defendant. Plaintiff also sought and acquired

        the service and adjustment of claims under that policy, a service that was "furnished in

        connection with the sale or repair of goods", as defined by the DTPA. This qualifies

        Plaintiff as a consumer of goods and services provided by Defendant as defined by the


PLAINTIFF'S ORIGINAL PETITION                                                               PAGE -10-
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        Texas Deceptive Trade Practices Act ("DTPA"), codified under Chapter 17 of the Texas

        Business and Commerce Code. The Plaintiff has met all conditions precedent to bringing

        this cause of action against Defendants. Specifically, Defendant's violations of the DTPA

        include without limitation, the following matters.

                b.      By its acts, omissions, failures, and conduct that are described in this

        petition, Defendant ALLSTATE has committed false, misleading, or deceptive acts or

        practices in violation of § 17.46(b)(2), (3), (5), (7), (11), (12), (13), (20), and (24) of the

        DTPA. In this respect, Defendant's violations include without limitation:

                        i.      Unreasonable delays in the investigation, adjustment and resolution

                of Plaintiff's claim, during which Defendant employed a series of alleged

                "independent adjusters" under the control of Defendant, that caused confusion to

                Plaintiff as to whom was representing whom, and had whose best interests in mind.

                This gives Plaintiff the right to recover under Section 17.46(b)(2) and (3) of the

                DTPA;

                                As described in this Petition, Defendant represented to Plaintiff that

                the insurance policy and Defendant's adjusting and investigative services had

                characteristics, uses, or benefits that it did not have, which gives Plaintiff the right

                to recover under Section 17.46(b)(5) of the DTPA;

                                As described in this Petition, Defendant represented to Plaintiff that

                the insurance policy and Defendant's adjusting and investigative services were of

                a particular standard, quality, or grade when they were of another in violation of

                Section 17.46(b)(7) of the DTPA;




PLAINTIFF'S ORIGINAL PETITION                                                                 PAGE -11-
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                        iv.     As described in this petition, Defendant represented to Plaintiff that

                the insurance policy and Defendant's adjusting and investigative services conferred

                or involved rights, remedies, or obligations that it did not have, which gives

                Plaintiff the right to recover under Section 17.46(b)(12) of the DTPA;

                        v.      Defendant knowingly made false or misleading statements of fact

                concerning the need for replacement of roofing systems, which gives Plaintiff the

                right to recover under Section 17.46(b)(13) of the DTPA;

                        vi.     Defendant breached an express and / or implied warranty that the

                damage caused by the subject storm would be covered under the insurance policies.

                This entitles the Plaintiff to recover under Sections 17.46(b)(12) and (20) and

                17.50(a)(2) of the DTPA;

                        vii.    Defendant failed to disclose information concerning the insurance

                policy which was known at the time of the transaction where the failure to disclose

                such information was intended to induce the Plaintiff into a transaction into which

                the Plaintiff would not have entered had the information been disclosed. This gives

                Plaintiff the right to recover under Section 17.46(b)(24) of the DTPA;

                        viii.   Defendant's actions, as described in this petition, are

                unconscionable in that it took advantage of Plaintiff's lack of knowledge, ability,

                and experience to a grossly unfair degree. Defendant's unconscionable conduct

                gives Plaintiff the right to relief under Section 17.50(a)(3) of the DTPA; and

                        ix.     Defendant's conduct, acts, omissions, and failures as described in

                this petition, are unfair practices in the business of insurance in violation of Section




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                17.50(a)(4) of the DTPA, under which violations of Chapter 541 of the Texas

                Insurance Code are an enabling statute.

                c.      All of the above-described acts, omissions, and failures of Defendant are a

        producing cause of Plaintiff's damages that are described in this petition. All of the above-

        described acts, omissions, and failures of Defendant were done knowingly and

        intentionally, as those terms are used and defined in the Texas Deceptive Trade Practices

        Act.

        7.6     COUNT 5— BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

                a.      By its acts, omissions, failures, and conduct, Defendant has breached its

        common law duty of good faith and fair dealing by failing to pay the proper amounts on

        Plaintiff's entire claim without any reasonable basis, and by failing to conduct a reasonable

        investigation to determine whether there was a reasonable basis for this denial. Defendant

        has also breached this duty by unreasonably delaying payment of Plaintiff's entire claim,

        and by failing to settle Plaintiff's entire claim because Defendant knew or should have

        known that it was reasonably clear that the claim was covered. These acts, omissions,

        failures, and conduct of Defendant are a proximate cause of Plaintiff's damages.

        7.7     COUNT 6— MISREPRESENTATION

                a.      Defendant ALLSTATE is liable to Plaintiff under the theories of intentional

        misrepresentation, or in the alternative, negligent misrepresentation. Defendant

        ALLSTATE did not inform Plaintiff of certain exclusions in the policy. Misrepresentations

        were made by Defendant ALLSTATE or its agents, with the intention that they should be

        relied upon and acted upon by Plaintiff, who relied on the misrepresentations to Plaintiff's

        detriment. As a result, Plaintiff has suffered damages, including but not limited to loss of



PLAINTIFF'S ORIGINAL PETITION                                                              PAGE -13-
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        the Property, loss of use of the Property, mental anguish and attorney's fees. Defendant

        ALLSTATE is liable for these actual consequential and penalty-based damages.

                                  VIII. WAIVER AND ESTOPPEL

        8.1        Defendant is waived and is estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter

to the Plaintiff

                              IX. DAMAGES / CLAIMS FOR RELIEF

        9.1        All the damages described and sought in this petition are within the jurisdictional

limits of the Court and exceed an aggregate amount of monetary relief over $100,000 but not more

than $200,000.

        9.2        The above described acts, omissions, failures, and conduct of Defendants caused

Plaintiff's damages, which include, without limitation, (1) the cost to properly repair Plaintiff's

home, (2) any investigative and engineering fees incurred by Plaintiff, (3) court costs, and (4)

attorney's fees. The Plaintiff is entitled to recover consequential damages from Defendants'

breach of contract. The Plaintiff is also entitled to recover the amount of Plaintiff's claim plus an

18% per annum penalty on that claim against Defendants as damages under Chapter 542 of the

Texas Insurance Code, plus prejudgment interest.

        9.3     Defendant has also "knowingly" and "intentionally" committed deceptive trade

practices and unfair insurance practices as those terms are defined in the applicable statutes.

Because of Defendant's knowing and intentional misconduct, Plaintiff is entitled to additional

damages as authorized by Section 17.50(b)(1) of the DTPA, which allows recovery of up to three

times economic damages. Where there is an enabling statute for the DTPA, as there is here with

the Texas Insurance Code, Plaintiff is entitled to recovery of up to three times actual damages.



PLAINTIFF'S ORIGINAL PETITION                                                                PAGE -14-
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Plaintiff is further entitled to the additional damages that are authorized by Chapter 541 of the

Texas Insurance Code.

        9.4     Defendant's breach of its duty of good faith and fair dealing owed to Plaintiff was

done intentionally, with a conscious indifference to the rights and welfare of Plaintiff, as defined

in Chapter 41 of the Texas Civil Practice and Remedies Code. These violations by Defendant are

the type of conduct which the State of Texas protects its citizens against by the imposition of

exemplary damages. Therefore, Plaintiff seeks the recovery of exemplary damages in the amount

to be determined by the finder of fact that is sufficient to punish Defendant for its wrongful conduct

and to set an example to deter Defendant and others similarly situated from committing similar

acts in the future.

                                     X. ATTORNEY'S FEES

        10.1 As a result of Defendant's conduct that is described in this petition, Plaintiff has

been forced to retain the undersigned law firm and attorney to prosecute this action, and has agreed

to pay reasonable attorney's fees. Plaintiff is entitled to recover these attorney's fees under Chapter

38 of the Texas Civil Practice and Remedies Code, Chapters 541 and 542 of the Texas Insurance

Code, and Section 17.50 of the DTPA.

                                         XI. DISCOVERY

        11.1    Under the Texas Rule of Civil Procedure 194, the Defendant is requested to disclose

within fifty (50) days of service of this request, the information of material described in Texas

Rule of Civil Procedure 194.2(a) through (1). Plaintiff's Requests for Disclosure, Requests for

Production, Interrogatories, and Requests for Admissions are attached, for service at the time of

service of this petition, and incorporated herein by reference.




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                                      XII. JURY DEMAND

        12.1 Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

                                          XIII. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff DIANA UNRUH prays that

Defendant ALLSTATE TEXAS LLOYD'S be cited to appear and answer herein, and that upon

trial hereof, said Plaintiff have and recover such sums as would reasonably and justly compensate

Plaintiff in accordance with the rules of law and procedure, as to economic damages, actual

damages, consequential damages, statutory penalty interest, treble damages under the Texas

Deceptive Trade Practices Act and Texas Insurance Code, and all punitive and exemplary damages

as may be found. In addition, Plaintiff requests the award of attorney's fees for the trial and any

appeal of this case, for all costs of court, for prejudgment and post-judgment interest, at the highest

rate allowed by law, and for any other and further relief, at law or in equity, to which Plaintiff may

show herself to be justly entitled.

                                                       Respectfully submitted,

                                                       THE CORONA LAW FIRM, PLLC


                                                       By: /s/ Jesse S. Corona

                                                       Jesse S. Corona
                                                       Texas Bar No. 24082184
                                                       Southern District Bar No. 2239270
                                                       521 N Sam Houston Pkwy E, Ste. 420
                                                       Houston, Texas 77060
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                                                       Jesse@theCoronaLawfirm.com

                                                       ATTORNEY FOR PLAINTIFF




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                                                                                 Chris Daniel - District Clerk Harris County
                                                                                                   Envelope No. 14088174
                                                                                                      By: Wanda Chambers
                                                                                              Filed: 12/2/2016 6:43:52 PM

                                     CAUSE NO. 2016-74527

DIANA UNRUH,                                      §                IN THE DISTRICT COURT OF
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §                   HARRIS COUNTY, TEXAS
                                                  §
ALLSTATE TEXAS LLOYD’S,                           §
                                                  §
        Defendant.                                §
                                                  §                   11TH JUDICIAL DISTRICT

                        DEFENDANT ALLSTATE TEXAS LLOYD’S
                               ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Allstate Texas Lloyd’s (“Defendant”), and files this, its Original Answer to

Plaintiff’s Original Petition, and would respectfully show unto the Court the following:

                                             I.
                                      ORIGINAL ANSWER

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies each

and every, all and singular, the allegations contained within Plaintiff’s Original Petition, and

demands strict proof thereon by a preponderance of the credible evidence in accordance with the

Constitution and laws of the State of Texas.

                                          II.
                                 DEMAND FOR JURY TRIAL

        Defendant herein makes demand for a jury trial in this case, and will tender the applicable

fees thereon.

                                                 III.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Texas Lloyd’s prays that

upon final trial and hearing hereof, Plaintiff recovers nothing from Defendant, but Defendant goes


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hence without delay and recovers costs of court and other such further relief, both general and

special, to which Defendant may be justly entitled.

                                              Respectfully submitted,

                                              By: /s/Jay Scott Simon
                                                  Jay Scott Simon
                                                  State Bar No. 24008040
                                                  jsimon@thompsoncoe.com
                                                  THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                                  One Riverway, Suite 1400
                                                  Houston, Texas 77056
                                                  Telephone: (713) 403-8210
                                                  Telecopy: (713) 403-8299

                                              ATTORNEY FOR DEFENDANT
                                              ALLSTATE TEXAS LLOYD’S



                                 CERTIFICATE OF SERVICE

        This is to certify that on December 2, 2016, a true and correct copy of the foregoing was
delivered to the following counsel for Plaintiffs by electronic service:

        Jesse S. Corona
        THE CORONA LAW FIRM, PLLC
        521 N Sam Houston Pkwy E, Ste. 420
        Houston, Texas 77060
        Email: jesse@thecoronalawfirm.com

                                                /s/Jay Scott Simon
                                              Jay Scott Simon




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